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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                                               §
                                                               §
DISPLAY TECHNOLOGIES, LLC,                                     §
       v.                                                      §
                                                               §
                                                               §
RICOH AMERICAS CORPORATION                                     §   2:15-cv-01631-JRG-RSP
C&A IP HOLDINGS, LLC                                           §   2:15-cv-01633-JRG-RSP

                                             ORDER

       All previous Orders of Consolidation in the above-captioned cases are hereby

VACATED. This Order replaces and supersedes all previous Orders of Consolidation.

       The above-captioned cases are hereby ORDERED to be CONSOLIDATED for all

pretrial issues (except venue) with the LEAD CASE, Cause No. 2:15-cv-01631. All parties are

instructed to file any future filings (except relating to venue) in the LEAD CASE. Individual

cases remain active for venue determinations and trial. The Court will enter one docket control

order, one protective order, and one discovery order that will govern the entire consolidated case.

       The local rules’ page limitations for Markman briefs and other motions will apply to the

consolidated case. To further promote judicial economy and to conserve the parties’ resources,

the Court encourages the parties to file a notice with the Court in the event that there are other

related cases currently pending on the Court’s docket that may also be appropriate for

consolidation with this case.

     The Clerk is instructed to add the consolidated defendants into the Lead Case and their

corresponding Lead and Local Counsel only. Additional counsel may file a Notice of

Appearance in the Lead Case if they wish to continue as counsel of record in the lead

consolidated action. Counsel who has appeared pro hac vice in any member case may file a
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Notice of Appearance in the Lead Case without filing an additional application to appear pro hac

vice in the Lead Case.

     This consolidated case is hereby set for a scheduling conference in Marshall, Texas on

February 22, 2016 at 1:30 p.m. before the Honorable Rodney Gilstrap and the Honorable Roy

Payne. The purpose of the scheduling conference will be to assign a claim construction hearing

date and a trial setting. The parties shall be prepared to inform the Court whether they will

consent to trial before the Magistrate Judge.

       The parties shall prepare and submit a proposed docket control order, a proposed

discovery order and a proposed protective order, within the time periods contained in the

schedule set forth hereinafter. 1 These orders shall be guided by the sample docket control,

discovery, and protective orders for patent cases, which can be found on the Court’s website. The

sample orders include provisions that require input from the parties. If the parties are unable to

reach agreement on these provisions, then the parties shall submit to the Court their competing

proposals along with a summary of their disagreements in a single joint submission.

     The sample orders include provisions that are mandatory and are not subject to change

without showing good cause. Good cause shall not be considered to be met simply by an

indication of the parties’ agreement. Should either party believe good cause can be shown to alter

an otherwise mandatory provision, then such party shall file a separate motion to alter the

provision after the parties have filed the proposed docket control and discovery orders with the

mandatory provisions intact as previously required above.

     Furthermore, it is hereby ORDERED that the following schedule of deadlines is in effect



1
  Timely submission of the parties’ proposed docket control order, proposed discovery order and
proposed protective order will be viewed by the Court as complying with the conference
requirement of Rule 26(f).
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until further order of this Court:

6 Weeks After                Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)
Scheduling Conference

3 Weeks After                File Proposed Protective Order and Comply with Paragraphs 1 & 3 of
Scheduling Conference        the Discovery Order (Initial and Additional Disclosures)

                             The Proposed Protective Order shall be filed as a separate motion with
                             the caption indicating whether or not the proposed order is opposed in
                             any part.
 .
2 Weeks After                File Proposed Docket Control Order and Proposed Discovery Order
Scheduling Conference
                             The Proposed Docket Control Order and Proposed Discovery Order
                             shall be filed as separate motions with the caption indicating whether or
                             not the proposed order is opposed in any part.

1 Week After Scheduling      Join Additional Parties
Conference

3 Days After Scheduling      File Notice of Mediator
Conference

2 Weeks Before               Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
Scheduling Conference

         SIGNED this 3rd day of January, 2012.
         SIGNED this 18th day of February, 2016.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
